Case 3:16-md-02738-MAS-RLS                          Document 28939   Filed 01/25/24   Page 1 of 7 PageID:
                                                         171306
                                 Montgomery
                                 218 Commerce Street
                                 P.O. Box 4160
                                 Montgomery, AL 36103-4160

                                 Atlanta
                                 4200 Northside Parkway
                                 Building One, Suite 100
                                 Atlanta, GA 30327

                                 (800) 898-2034
                                 BeasleyAllen.com


  P. Leigh O’Dell                                                                     Michelle A. Parfitt
  leigh.odell@beasleyallen.com                                                        mparfitt@ashcraftlaw.com



  January 25, 2024


  Honorable Rukhsanah L. Singh, U.S.M.J
  United States District Court
  Clarkson S. Fisher Building & US Courthouse
  402 East State Street
  Trenton, NJ 08608

            Re:       Johnson & Johnson Talcum Powder Products, Marketing, Sales
                      Practices and Products Liability Litigation
                      Case No.: 3:16-md-02738-MAS-RLS

  Dear Judge Singh:

         Please accept this letter on behalf of the Plaintiffs’ Steering Committee (PSC)
  in response to the Defendants’ letter of January 18, 2024.

       1. Dr. Daniel Clarke-Pearson and Dr. Judith Wolf Have Each Been Deposed
          for Over 25 Hours Regarding General and Case-Specific Opinions, In
          Compliance With this Court’s Orders

        Dr. Daniel Clarke-Pearson and Dr. Judith Wolf serve as general causation
  experts and case-specific experts for three bellwether Plaintiffs. 1 To date, Dr. Clarke-
  Pearson and Dr. Wolf have each been deposed for over 25 hours concerning their
  general and case-specific opinions in this MDL.

        Dr. Clarke-Pearson was questioned: (1) for seven hours on February 4, 2019,
  regarding his general causation opinions; (2) at the Daubert hearing regarding his

  1
    Dr. Clarke-Pearson submitted case-specific opinions for Hilary Converse, Tamara Newsome, and
  Pasqualina Rausa. Dr. Wolf submitted case-specific opinions for Linda Bondurant, Anna Gallardo, and
  Carter Judkins.
Case 3:16-md-02738-MAS-RLS        Document 28939      Filed 01/25/24   Page 2 of 7 PageID:
                                       171307
                                                              Hon. Rukhsanah L. Singh, U.S.M.
                                                                             January 25, 2024
                                                                                       Page 2


  general causation opinions; (3) for 14 hours on August 26 and 27, 2021, concerning
  new literature reviewed for his general causation opinions and his three case-specific
  opinions, as required by the Court’s August 2, 2021 Order; and (4) for four hours on
  January 17, 2024, in accordance with the Court’s October 10, 2023, Amended Order.

         Similarly, Dr. Wolf was examined: (1) for seven hours on January 7, 2019,
  regarding her general causation opinions; (2) for 14 hours on September 13 and 14,
  2021, concerning newly reviewed general causation materials and her three case-
  specific opinions, as required by the Court’s August 2, 2021, Order; and (3) for four
  hours on January 10, 2024, pursuant to the Court’s October 10, 2023, Amended
  Order. Despite these experts having already been exhaustively deposed in
  compliance with this Court’s Orders, Defendants now insist that they are entitled to
  examine Dr. Clarke-Pearson and Dr. Wolf for an additional 14 hours each.
  Defendants’ demands are not supported by the language or intent of this Court’s
  Orders.

        The Court’s August 2, 2021, Order allowed Plaintiffs to serve amended and
  supplemental expert reports and permitted Defendants to conduct limited expert
  depositions on such reports. Specifically, the Order authorized depositions of general
  causation experts who served a supplemental report, limited to four hours of
  testimony concerning only new material contained in the supplemental report. See
  Dkt. No. 24511. The Order further provided that depositions of experts who
  addressed case-specific issues for three or more cases in addition to providing
  supplemental reports on general causation were “limited to two days/14 hours of
  testimony time.” Dkt. No. 24511. On July 2, 2021, nearly three years after Plaintiffs’
  original expert disclosures, Plaintiffs served case-specific expert reports for the six
  bellwether cases and amended reports for certain general causation experts.
  Thereafter, Defendants deposed each of Plaintiffs’ experts for which a new or
  amended report was served—including Dr. Clarke-Pearson and Dr. Wolf. Because
  Drs. Clarke-Pearson and Wolf rendered three case-specific opinions in addition to
  general causation opinions, and each expert was deposed for 14 hours over two days,
  as permitted by the Scheduling Order.

         The discovery deadlines set forth by the August 2, 2021, Order were
  interrupted when Johnson & Johnson embarked on a bankruptcy strategy that paused
  this MDL for nearly two years. See LTL Mgmt., LLC v. Those Parties Listed on
  Appendix A To Complaint (In re LTL Mgmt., LLC), 58 F.4th 738 (3d Cir. 2023)
  (dismissing LTL’s first bankruptcy petition because it was filed in bad faith and it
Case 3:16-md-02738-MAS-RLS               Document 28939           Filed 01/25/24        Page 3 of 7 PageID:
                                              171308
                                                                             Hon. Rukhsanah L. Singh, U.S.M.
                                                                                            January 25, 2024
                                                                                                      Page 3


  was not a debtor in distress); In re LTL Mgmt., LLC, 652 B.R. 433 (Bankr. D.N.J.
  2023) (dismissing LTL’s second bad faith bankruptcy). Once this MDL resumed, the
  Court entered its October 10, 2023, Order to amend the discovery deadlines
  previously set forth in the August 2, 2021, Order. See Dkt. No. 28516. Like the
  original scheduling order, the amended order anticipated review by experts of
  additional literature and provided Defendants the opportunity to conduct expert
  depositions subject to the same limitations outlined in the 2021 Order.

         Accordingly, Plaintiffs served Dr. Clarke-Pearson’s and Dr. Wolf’s amended
  expert reports on November 15, 2023. Contrary to Defendants’ assertions, neither
  Dr. Clarke-Pearson nor Dr. Wolf submitted “new reports.” See Dkt. No. 28915 at 2–
  3. Rather, each expert revised their report only to reflect additional scientific
  literature published and reviewed since the last expert disclosures were made over
  two years ago, and to update the medical history of their bellwether plaintiffs. Dr.
  Clarke-Pearson’s and Dr. Wolf’s original opinions remain unchanged. See Second
  Amended Expert Report of Daniel Clarke-Pearson, attached as Exhibit A (with
  redlines of added material); Second Amended Expert Report of Judith Wolf, attached
  as Exhibit B (with redlines of added material). Because both experts already
  complied with the Court’s August 2021 Order in September 2021, they were only
  subject to one more four-hour deposition addressing the new references contained in
  their amended reports. 2

         Nor is extra time warranted for Defendants to examine Dr. Wolf about Dr.
  Longo’s Third Supplemental Report, Dr. Longo’s exposure analysis for the six
  bellwether Plaintiffs, or Dr. Levy’s analysis of the six bellwether Plaintiffs’ genetic
  testing. To be clear, Dr. Wolf does not rely on these reports in reaching her opinions;
  rather because they comment on her case-specific bellwether Plaintiffs or include
  new asbestos testing results, Dr. Wolf reviewed the reports. Plaintiffs served these
  reports on Defendants in November 2023 along with other PSC expert reports.
  Plaintiffs believe that Defendants had adequate notice and time during the deposition
  to examine Dr. Wolf on these references. However, in an effort to reach agreement


  2
   Notably, prior to Defendants’ recent rejection of certain expert reports and demands for extraordinary time
  for each deposition, the proposed deposition schedule contemplated 17 depositions within 22 days. The 24
  additional hours now sought by Defendants would not have been feasible under this timeline. Further, Dr.
  Clarke-Pearson’s and Dr. Wolf’s amended reports are only 19 and 23 pages long, respectively, with the
  new material in the reports being limited to the inclusion of citations and a handful of new sentences and
  paragraphs, all of which could have been adequately addressed in the four hours previously agreed to by
  the parties.
Case 3:16-md-02738-MAS-RLS       Document 28939      Filed 01/25/24   Page 4 of 7 PageID:
                                      171309
                                                             Hon. Rukhsanah L. Singh, U.S.M.
                                                                            January 25, 2024
                                                                                      Page 4


  with Defendants, Plaintiffs offered another hour for Defendants to examine Dr. Wolf
  on these three references, but this offer was rejected.

     2. Dr. Patricia Moorman Issued One Supplemental General Causation
        Report Subject to One Four-Hour Examination

         Dr. Patricia Moorman has submitted two general causation expert reports in
  this MDL. Dr. Moorman submitted her first report on November 16, 2018, and was
  deposed concerning the opinions therein for over seven hours on January 25, 2019.
  Dr. Moorman submitted a Supplemental Expert Report on November 15, 2023
  (“2023 Supplemental Report”). As Dr. Moorman explains, the supplement does not
  offer any new opinions. Rather, it was updated only to reflect newly published
  scientific literature reviewed by Dr. Moorman in the more than two-year interim
  since the last expert disclosures. Accordingly, per the Court’s October 10, 2023,
  Order, Dr. Moorman’s four-hour deposition was scheduled for January 18, 2024, to
  “address new material contained in the supplemental report.” Dkt. No. 28516.

         Part of the additional literature considered by Dr. Moorman was outlined in
  an April 21, 2021, “Addendum to Rule 26 Expert Report of Patricia G. Moorman”
  (“2021 Addendum”) that was prepared and produced to the Johnson & Johnson
  Defendants in the Philadelphia state court litigation and attached to Dr. Moorman’s
  2023 Supplemental Report. On January 8, 2024, counsel for Defendants advised
  Plaintiffs’ counsel that because Dr. Moorman was never questioned on her 2021
  Addendum, as the state court rules did not permit depositions, Defendants planned
  “to make that part of the deposition next week.” See January 8, 2024,
  Correspondence from Susan Sharko to Michelle Parfitt, attached as Exhibit C. In
  response, Plaintiffs agreed that Dr. Moorman could be examined on the 2021
  Addendum because it was incorporated into her 2023 Supplemental Report. On
  January 17, 2024, the day before Dr. Moorman’s scheduled deposition, counsel for
  Defendants advised Plaintiffs’ counsel for the first time that they would be deposing
  Dr. Moorman for eight hours. Plaintiffs refused, as the Scheduling Order provides
  for only four hours of examination concerning new materials contained in a
  supplemental report. Although Dr. Moorman was in North Carolina and prepared to
  testify the next day, Defendants elected to forego the deposition.

        Despite Defendants’ misrepresentations, Dr. Moorman’s 2021 Addendum
  does not constitute a third supplemental report entitling them to a third four-hour
  deposition. The seven-page Addendum was prepared and produced for a state court
Case 3:16-md-02738-MAS-RLS       Document 28939      Filed 01/25/24   Page 5 of 7 PageID:
                                      171310
                                                             Hon. Rukhsanah L. Singh, U.S.M.
                                                                            January 25, 2024
                                                                                      Page 5


  proceeding and serves as reliance material for the 2023 Supplemental Report
  prepared and produced for this MDL. Defendants’ counsel seemingly acknowledged
  this much in planning to question Dr. Moorman on the 2021 Addendum as “part of”
  the limited deposition set for January 18, 2024.

     3. Defendants Selectively Cherry-Pick Portions of the Record in Accusing
        Plaintiffs’ Counsel of Obstructing Depositions

       Finally, Defendants selectively cherry-pick portions of Dr. Clarke-Pearson’s
  and Dr. Wolf’s transcripts in alleging that Plaintiffs’ counsel obstructed the
  examinations. An accurate account of the proceedings reveals that this allegation is
  completely baseless.

         Defendants assert that Dr. Wolf’s deposition was “interrupted at times by
  lengthy speaking objections from plaintiffs’ counsel.” Dkt. No. 28915 at 3. Not so.
  Throughout the four-hour deposition, only one objection by Plaintiffs’ counsel
  extended beyond a single sentence. This particular objection was the result of an
  ongoing exchange between Defendants’ counsel and Plaintiffs’ counsel regarding a
  document not included in Dr. Wolf’s materials considered list. Because the document
  had not been reviewed by the witness, Plaintiffs’ counsel objected to the line of
  questioning unless the document was provided to the witness for review. See, e.g.,
  1/10/2024 Wolf Deposition 237:11–15, attached as Exhibit D (“I object to this line
  of questioning. Dr. Wolf has asked you to see it and, Mark, you can just . . . e-mail
  it to us.”). Importantly, Dr. Wolf herself expressed the desire to see the entire
  document, stating, “I would like to see the whole document.” Id. 236:6–7. Despite
  both the witness’s request and Plaintiffs’ counsel’s objection, Defendants’ counsel
  persisted with the line of questioning without providing the document. It was only
  after continued objections and a prolonged exchange between Defendants’ counsel
  and Plaintiffs’ counsel that Defendants’ counsel provided the document to Dr. Wolf,
  after which the deposition continued.

         With respect to Dr. Clarke-Pearson’s deposition, Defendants allege that
  “counsel’s numerous, long-winded objections . . . repeatedly ground the deposition
  to a halt.” Dkt. No. 28915 at 2. Again, Defendants selectively cite portions of the
  transcript, presenting an unfair and misleading representation of events. For
  example, Defendants state that “questions had to be re-asked and re-read back to the
  expert because the witness could not even recall the posed question after waiting for
  counsel to finish lengthy objections.” Id. Defendants fail to mention, however, that
Case 3:16-md-02738-MAS-RLS                    Document 28939            Filed 01/25/24          Page 6 of 7 PageID:
                                                   171311
                                                                                   Hon. Rukhsanah L. Singh, U.S.M.
                                                                                                  January 25, 2024
                                                                                                            Page 6


  the cited objections were asserted because the examiner continuously questioned Dr.
  Clarke-Pearson about topics predating his last deposition, instead of limiting
  questions to “new material contained in the supplemental report,” as required by the
  Court’s October 10, 2023 Order. Dkt. No. 28516 at 2.

         Indeed, Defendants’ counsel was inappropriately hostile to Dr. Clarke-
  Pearson throughout his deposition. See, e.g., 1/17/2024 Clarke-Pearson Deposition
  66:12–17, attached as Exhibit E (examiner saying to the witness “I don’t have all
  day here” while the witness was trying to locate the paper he was being questioned
  about). 3 Thus, most of counsel’s objections were necessary to protect the witness.
  See id. 178:11–13 (“Objection to form. Asked and answered. Please do not badger
  Dr. Clarke-Pearson or be disrespectful.”). For instance, despite Dr. Clarke-Pearson
  repeatedly stating that he could not provide a specific percentage of income
  attributable to expert work because his income is derived from a variety of sources
  now that he is retired, such as part-time work for a university, expert work, social
  security, and pension benefits, Defendants’ counsel continued to press him for an
  answer. See id. 12:18–13:25 (Dr. Clarke-Pearson ultimately stating, “I just can’t give
  you a specific number. I’m sorry.”). As a result, counsel had to object to each
  question that had already been repeatedly asked and answered by the witness.

         Relatedly, each time the examiner asked Dr. Clarke-Pearson to disclose his
  annual pension earnings, counsel objected, explaining that the defense is not entitled
  to such information. See id. 14:5–8 (“you’re not entitled to that information Jessica
  so I would object to the question and Dr. Clarke-Pearson you don’t have to respond
  to that.”). Nevertheless, Defendants’ counsel demanded an answer, at one point even
  insinuating that Dr. Clarke-Pearson was not cooperating. See id. 15:2–4 (“Dr.
  Clarke-Pearson are you refusing to testify to what percentage of your income comes
  from expert work?”). In all, a cursory review of Dr. Clarke-Pearson’s and Dr. Wolf’s
  deposition transcript demonstrates that Plaintiffs’ counsel in no way hindered the
  examinations, but objected as was necessary and appropriate to address harassing
  and repetitive questioning by Defendants’ counsel.

         Moreover, the fact that the depositions were conducted virtually, via Zoom, is
  important context to be considered. Defendants did not provide copies of or identify
  the documents that would be marked as exhibits in advance of the deposition.
  Plaintiffs’ counsel ensured that both Dr. Wolf and Dr. Clarke-Pearson had copies of
  their respective reports and cited materials to ensure efficient questioning and
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      The transcript attached is a rough draft, as the final transcript is not yet available.
Case 3:16-md-02738-MAS-RLS        Document 28939      Filed 01/25/24    Page 7 of 7 PageID:
                                       171312
                                                               Hon. Rukhsanah L. Singh, U.S.M.
                                                                              January 25, 2024
                                                                                        Page 7


  responsive answers. Often, counsel for Defendants would not allow the witnesses
  sufficient time to locate a document prior to questions beginning, placing them in an
  unfair position to adequately respond. Further, the witnesses were questioned about
  documents that they did not cite in their reports or even include in their materials
  considered lists. Despite the witnesses not having physical copies of these
  documents, counsels’ questions persisted with limited information visible on the
  screen. See, e.g., 1/10/2024 Wolf Deposition 236:6–7, attached as Exhibit D (Dr.
  Wolf stating to Defendants’ counsel, “I see the little bit that you’re showing. I would
  like to see the whole document.”); 238:8–239:9 (Defense counsel disregarding Dr.
  Wolf’s request to see the whole document and insisting “[y]ou already have a copy
  of it, so let’s continue.”). This greatly hindered Dr. Wolf’s and Dr. Clarke-Pearson’s
  ability to meaningfully respond, prompting Plaintiffs’ counsel to seek clarification
  at times to facilitate—certainly not to impede—the examinations.

        The PSC respectfully requests that the Court address these issues at the
  hearing set for January 29, 2024.

        Thank you for your consideration.

                                     Respectfully submitted,
               /s/ P. Leigh O'Dell                     /s/ Michelle A. Parfitt

               P. Leigh O'Dell                         Michelle A. Parfitt


  cc:   Hon. Joel Schneider, U.S.M.J. (via email)
        Susan Sharko, Esq. (via email)
        All Counsel (via ECF)
